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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
                                                )
 TAASERA LICENSING LLC,                         )    Case No. 2:21-cv-00441-JRG-RSP
                                                )
                          Plaintiff,            )    JURY TRIAL DEMANDED
                                                )
           v.                                   )
                                                )
 TREND MICRO INCORPORATED,                      )
                                                )
                          Defendant.            )



                        JOINT MOTION FOR ENTRY OF AGREED
                             DOCKET CONTROL ORDER

       Pursuant to the Court’s Order Setting the Scheduling Conference dated July 19, 2022 (Dkt.

11), Plaintiff Taasera Licensing LLC (“Plaintiff” or “Taasera”) and Defendant Trend Micro

Incorporated (“Defendant” or “Trend Micro”) have met and conferred and hereby file this Joint

Motion for Entry of Agreed Docket Control Order, attached hereto as Exhibit A.

Dated: August 2, 2022                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on August 2, 2022, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                            /s/ Alfred R. Fabricant
                                               Alfred R. Fabricant




                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that all counsel of record have met and conferred in

accordance with Local Rule CV-7(h) and this joint motion is unopposed.


                                            /s/ Alfred R. Fabricant
                                                Alfred R. Fabricant
